     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 1 of 13



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

------------------------------X
                              :
JAKUB MADEJ                   :           Civil No. 3:20CV00133(JCH)
                              :
v.                            :
                              :
YALE UNIVERSITY, et al.       :           December 23, 2020
                              :
------------------------------X

RULING ON DISCOVERY MOTIONS [Docs. #205, #206, #211, #212, #213]

     Defendants Yale University, Marvin Chun, Jessie Royce Hill,

Peter Salovey, and Mark Schenker (“Mr. Schenker”) (collectively

the “defendants”) have filed a Motion to Quash Notices of

Deposition or, in the Alternative, for a Ruling on Defendants’

Motion for Order, and Request for Expedited Ruling (“Motion to

Quash”). [Doc. #211]. Non-party witness Sarah Insley (“Ms.

Insley”) has filed the same motion and “joins in, incorporates,

and adopts the arguments set forth in the defendants’” Motion to

Quash. [Doc. #212]. Self-represented plaintiff Jakub Madej

(“plaintiff”) has filed a Motion for Protocol Governing Remote

Depositions. [Doc. #213]. On December 17, 2020, Judge Janet C.

Hall referred these motions to the undersigned for resolution,

along with defendants’ December 14, 2020, “Response to

Plaintiff’s Notice re: Court’s Order and Motion for Order” [Doc.




                                  ~ 1 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 2 of 13



#205].1 See Doc. #214.

     For the reasons set forth below, defendants’ and Ms.

Insley’s Motions to Quash [Docs. #211, #212] are GRANTED, in

part, and DENIED, in part, and plaintiff’s Motion for Protocol

Governing Remote Depositions [Doc. #213] is DENIED.

     Defendants’ and Ms. Insley’s Motions for Order [Docs. #205,

#206] are DENIED, as moot, with respect to the first requested

order, and DENIED, as to the second and third requested orders.

A.   Background

     The Court presumes familiarity with the factual and

procedural background of this matter, and details only that

background necessary to decide the current motions.

     At the outset, the Court pauses to note that the parties

have raised various issues through the filing of a joint status

report. See Doc. #216. However, the only issue currently before

the undersigned is the question of the depositions of Mr.

Schenker, Ms. Insley, and a representative of Yale University.

To the extent the parties seek any relief beyond this limited

issue, an appropriate motion(s) should be filed.

     On December 7, 2020, defendants and Ms. Insley each filed a

motion to quash plaintiff’s notices of deposition for Mr.



1 Ms. Insley “joins in, incorporates, and adopts the arguments
set forth in the Defendants’ Response to Plaintiff’s Notice Re:
Court’s Order and Motion for Order.” Doc. #206.

                                  ~ 2 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 3 of 13



Schenker, Ms. Insley and a representative of Yale University.

[Docs. #192, #194].2 Defendants and Ms. Insley moved to quash the

depositions because plaintiff “refused to identify a court

stenographer who will be transcribing the depositions and the

plaintiff is insisting on administering the oath to witnesses

himself,” in violation of the Federal Rules of Civil Procedure.

Doc. #192-1 at 1. On December 9, 2020, Judge Hall ordered that

plaintiff respond to the motions to quash by December 16, 2020,

at 12:00PM. See Doc. #197. She also ordered that no depositions

noticed by plaintiff would be held until the motions to quash

had been resolved. See id. On December 9, 2020, Judge Hall

referred the motions to quash to the undersigned. [Doc. #198].

     Plaintiff filed his response to the motions to quash on

December 11, 2020. [Doc. #202]. In that response, plaintiff

asserted numerous times that he had “engaged” a court reporter.

See id. at 2 (“Madej has since engaged a regular court

reporter.”); id. at 6 (“These illogical beliefs also fail

because Madej engaged a court reporter, a person different than

himself, who will swear in the witnesses. That fact alone is

sufficient to deny Yale’s motion.” (emphasis in original)); id.




2 Defendants and Ms. Insley also sought to stay the taking of any
depositions until after the Court’s ruling on defendants’ motion
to dismiss. See Doc. #192 at 1. Judge Hall denied that request.
See Doc. #197.

                                  ~ 3 ~
        Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 4 of 13



at 12 (“Here, Madej engaged a certified court reporter – not

himself, as defendants mistakenly believe[.] ... That reporter

will serve as an officer within the meaning of Rule 28 and will

perform the duties prescribed by Rule 30(b)(5).” (emphasis in

original)). In light of the representations set forth in

plaintiff’s response that he had “engaged” a court reporter, the

Court ordered plaintiff to file a Notice on the docket

“identifying the court reporter’s name, business address, and

telephone number.” Doc. #203.

        Plaintiff filed a Notice on December 14, 2020, stating:

“The court reporting agency is Falzarano Court Reporters, 4

Somerset Lane, Simsbury, CT 06070.” Doc. #204. On December 14,

2020, defendants and Ms. Insley filed a response to plaintiff’s

Notice. [Docs. #205, #206]. In pertinent part, defendants and

Ms. Insley represented that plaintiff had not, in fact, engaged

Falzarano Court Reporters (hereinafter “Falzarano”) “to provide

court reporting services for any depositions in this case.” Doc.

#205 at 1. Defendants supported this assertion with a sworn

affidavit. See Doc. #205-1.

        In light of the representation that plaintiff had not

engaged Falzarano to provide court reporting services, the Court

entered an Order on December 14, 2020, requiring plaintiff to

respond to that contention under penalty of perjury. See Doc.

#207.

                                     ~ 4 ~
      Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 5 of 13



      Plaintiff filed his sworn response on December 15, 2020, as

ordered by the Court. [Doc. #209]. In pertinent part, plaintiff

declared that he “sought to hire” Falzarano but “did not sign

any written agreement because at that point, the dates of the

upcoming depositions have not been ascertained yet.” Id. at 2

(sic). Plaintiff further declared: “On December 14, 2020, I

identified [Falzarano] as the first-line agency that I seek to

engage for the noticed depositions, consistent with my

intentions.” Id. (sic).

      On December 15, 2020, the undersigned granted defendants’

and Ms. Insley’s motions to quash, over the objection of

plaintiff, and for substantially the reasons stated in the

motions to quash. See Doc. #210. The undersigned additionally

noted as part of that Order:

      Plaintiff has failed to obtain a court reporter for the
      noticed depositions as required by the Federal Rules of
      Civil Procedure. See Fed. R. Civ. P. 28(a), 28(c), and
      30(b)(5). Indeed, plaintiff has made misrepresentations
      to the Court concerning his engagement of a court
      reporter, going so far as to identify by name the court
      reporting agency he purportedly “engaged.” Compare Doc.
      #202 at 12, and Doc. #204, with Doc. #205, and Doc. #209.
      Without a proper officer, the depositions cannot
      proceed.

Id.

      Just one day after the undersigned entered the above Order,

defendants and Ms. Insley filed the instant Motions to Quash

asserting that plaintiff had again failed to engage a court


                                   ~ 5 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 6 of 13



reporter for the newly noticed depositions of Mr. Schenker, a

representative of Yale University, and Ms. Insley. See Docs.

#211 at 2; see also Doc. #212.3 Defendants and Ms. Insley also

assert that because of plaintiff’s “delays, repeated failures to

comply with this Court’s orders on these depositions and his

misrepresentations to the Court, the plaintiff has now forfeited

his right to take depositions in this case.” Doc. #211 at 2.

Accordingly, in addition to requesting that the Court quash the

notices of deposition, defendants and Ms. Insley also request

that the Court “direct the plaintiff to cease and desist from

issuing any further notices of deposition.” Id. at 3.

     In response to the Motions to Quash, the Court entered the

following Order:

     Any party issuing a notice of deposition must identify,
     in the Notice, the court reporter who will serve as the
     officer at the deposition, including the reporter’s
     business address and telephone. The court reporter must
     be secured and confirmed by the party seeking the
     deposition in advance of the issuance of the notice of
     deposition. Any party issuing a notice of deposition
     must also file a copy of that Notice on the docket in
     this matter at the time it is issued, for the Court’s
     review.

     The Court finds that this unusual practice is necessary,
     in light of plaintiff’s prior misrepresentations to the
     Court regarding the retention of court reporters.

3 Ms. Insley “joins in, incorporates, and adopts the arguments
set forth in the defendants’ Motion to Quash Notices of
Deposition Or, in the Alternative, For a Ruling on Defendants’
Motion for Order[.]” Doc. #212 at 1 (sic). Accordingly,
citations to the defendants’ and Ms. Insley’s arguments refer
only to defendants’ briefing.
                                  ~ 6 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 7 of 13




     Plaintiff may issue revised Notices of Depositions for
     any depositions he seeks to conduct, in compliance with
     this Order. The Notices of Depositions previously issued
     on December 16, 2020, prior to the entry of this Order
     are hereby QUASHED.

Doc. #215 (emphasis in original). The Court invited defendants

and Ms. Insley to further articulate their argument that

plaintiff should be prohibited from taking further depositions

at this time. See id. The Court also ordered that plaintiff file

any response to the Motions to Quash on or before December 21,

2020. See id. To date, with the exception of a Joint Status

Report [Doc. #216],4 neither party has filed any additional

materials in support of, or in opposition to, the Motions to

Quash.

B.   Discussion

     The Court considers each of the pending motions in turn,

beginning with the Motions to Quash.

     1.   Motions to Quash [Docs. #211, #212]

     On December 17, 2020, the Court granted the Motions to

Quash as to the request for the Court to “quash the notices of

deposition dated December 16, 2020[.]” Doc. #211 at 3; see also

Doc. #215. Accordingly, the Court now considers defendants’ and



4 The Joint Status Report raises issues that are not properly
before the undersigned. See generally Doc. #216. The Court will
not consider the issues raised in the Joint Status Report unless
and until the parties seek relief through the filing of an
appropriate motion.
                                  ~ 7 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 8 of 13



Ms. Insley’s request for the Court to “direct the plaintiff to

cease and desist from issuing any further notices of

deposition.” Doc. #211 at 3.

     Defendants and Ms. Insley assert:

     Given the plaintiff’s delays, his repeated failures to
     comply with this Court’s orders on these depositions and
     his misrepresentations to the Court, the plaintiff has
     now forfeited his right to take depositions in this case.
     The scheduling order entered by this Court directed that
     all depositions be concluded by November 30, 2020. That
     date has now come and gone, and the plaintiff has no
     right to notice any further depositions.

Id. at 2.

     In light of those representations, a brief review of the

history of scheduling orders in this matter is necessary. Judge

Hall entered a Scheduling Order Regarding Case management Plan

on March 24, 2020. [Doc. #57]. In pertinent part, Judge Hall

ordered: “All discovery will be completed (not propounded) by

NOVEMBER 30, 2020.” Id. (emphasis in original). On April 20,

2020, Judge Hall held a telephonic scheduling conference. See

Docs. #79, #83. During that conference, Judge Hall ordered:

     As to discovery, the case will proceed with paper
     discovery before depositions are scheduled, and the
     court does not alter its Scheduling Order (Doc. No. 57).
     The parties are to determine what depositions will be
     sought within the next two to three weeks, and are
     directed to schedule those depositions between August
     and October, 2020, subject to availability of the
     parties, counsel, and deponents. If it becomes unclear
     whether a scheduled deposition can proceed due to COVID-
     19, the parties may ask for a scheduling conference to
     discuss either continuances of some or all of the
     depositions, or conducting some or all of the

                                  ~ 8 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 9 of 13



     depositions via video conferencing.            The   discovery
     deadline remains November 30, 2020.

Doc. #83. On September 3, 2020, Judge Hall stayed “all

deposition discovery ... until the court rules on the

outstanding and joined discovery motions.” Doc. #155. On October

26, 2020, Judge Hall issued an omnibus ruling on the outstanding

and joined discovery motions. [Doc. #174].

     Under the circumstances, plaintiff did not have a

meaningful opportunity to conduct depositions in the time

allotted by the Scheduling Order for the conclusion of

discovery. Accordingly, the Court does not find that plaintiff

has waived his right to conduct depositions in this matter based

on the passing of the November 30, 2020, discovery deadline. The

Court will permit plaintiff to re-notice the depositions of Mr.

Schenker, Ms. Insley, and a representative of Yale University

for dates between January 19, 2021, and February 12, 2021.5

Plaintiff and defense counsel must confer by email to confirm

dates for these depositions. Plaintiff must also comply with the

Court’s December 17, 2020, Order before re-noticing these

depositions, including, inter alia, identifying in the notice of

deposition the court reporter who has been confirmed and




5
 The question of whether plaintiff may notice other depositions
during this timeframe is not before the Court and the Court does
not consider it.
                                  ~ 9 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 10 of 13



retained to serve as the officer at the deposition, including

that reporter’s business address and telephone. See Doc. #215.

     Defendants have yet to depose plaintiff. See Doc. #216 at

1, 4. Defendants may notice plaintiff’s deposition for a date

between February 12, 2021, and March 12, 2021. Plaintiff and

defense counsel must confer by email to confirm a date for

plaintiff’s deposition. Defendants are reminded that they too

must comply with the Court’s December 17, 2020, Order. See Doc.

#215 (“Any party issuing a notice of deposition must identify,

in the Notice, the court reporter who will serve as the

officer[.] ... Any party issuing a notice of deposition must

also file a copy of that Notice on the docket in this matter at

the time it is issued for the Court’s review.” (emphasis

added)).

     To the extent that these orders affect any remaining

deadlines, including the deadline for filing dispositive

motions, the parties should file an appropriate motion seeking

to extend those deadlines as may be necessary.

     Accordingly, for the reasons stated, the Motions to Quash

[Docs. #211. #212] are GRANTED, in part, and DENIED, in part.

     2.    Motion for Protocol Governing Remote Depositions [Doc.
           #213]

     Plaintiff “requests that the Court enter” a proposed

“protocol governing remote depositions (the ‘Protocol’) as an


                                  ~ 10 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 11 of 13



order in this case.” Doc. #213 at 1; see also Doc. #213-4

(Proposed Protocol for Conducting Remote Depositions).

     Plaintiff’s Motion for Protocol Governing Remote

Depositions [Doc. #213] is DENIED. The proposed protocol is

largely unnecessary given that the parties have already agreed

to conduct depositions by remote means. The Court trusts that

plaintiff and counsel will work collaboratively, and in

compliance with the Federal and Local Rules of Civil Procedure,

to ensure that any remote depositions run efficiently.

     3.   Motion for Order [Doc. #205]

     Defendants and Ms. Insley have requested, in the event

plaintiff attempts to re-notice the three depositions at issue,

that the Court enter the following orders:

     1)   The plaintiff shall identify the court reporter’s
     name, business address, and telephone number in the
     notice of deposition;

     2)   The plaintiff shall provide defense counsel with
     written confirmation from the court reporter indicating
     that the court reporter has agreed to provide court
     reporting services for the depositions; and

     3) Judge Merriam will supervise the depositions.

Doc. #205 at 2; see also Doc. #206 at 1. Defendants and Ms.

Insley have renewed this request in the Motions to Quash. See

Doc. #211 at 3; see also Doc. #212.

     With respect to the first requested order, defendants’ and

Mr. Insley’s motion is DENIED, as moot. The Court has already


                                  ~ 11 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 12 of 13



entered an Order requiring that “[a]ny party issuing a notice of

deposition must identify, in the Notice, the court reporter who

will serve as the officer at the deposition, including the

reporter’s business address and telephone.” Doc. #215 (emphasis

removed).

     With respect to the second requested order, defendants’ and

Mr. Insley’s motion is DENIED. The Court has already ordered

that “[t]he court reporter must be secured and confirmed by the

party seeking the deposition in advance of the issuance of the

notice of deposition.” Id. Should any party fail to comply with

this Order, that party may be subject to sanctions.

     Finally, with respect to the third requested order,

defendants’ and Ms. Insley’s motion is DENIED. At this time, the

undersigned will not supervise any deposition, whether taken by

plaintiff or defense counsel. To date, there has been no dispute

concerning the conduct of depositions. Rather, the primary

dispute has concerned the officer before whom those depositions

will be taken and how those depositions will be properly

recorded. The Court trusts that both the self-represented

plaintiff, and counsel for defendants and Ms. Insley, will

conduct any depositions in accordance with the Federal and Local

Rules of Civil Procedure.

     Accordingly, defendants’ and Ms. Insley’s Motions for Order

[Docs. #205, #206] are DENIED, as moot, with respect to the

                                  ~ 12 ~
     Case 3:20-cv-00133-JCH Document 218 Filed 12/23/20 Page 13 of 13



first requested order, and DENIED, as to the second and third

requested orders.

C.   Conclusion

       For the reasons stated above, defendants’ and Ms.

Insley’s Motions to Quash [Docs. #211, #212] are GRANTED, in

part, and DENIED, in part, and plaintiff’s Motion for Protocol

Governing Remote Depositions [Doc. #213] is DENIED. Defendants’

and Ms. Insley’s Motions for Order [Docs. #205, #206] are

DENIED, as moot, with respect to the first requested order, and

DENIED, as to the second and third requested orders.

     SO ORDERED at New Haven, Connecticut, this 23rd day of

December, 2020.

                                          /s/
                                   HON. SARAH A. L. MERRIAM
                                   UNITED STATES MAGISTRATE JUDGE




                                  ~ 13 ~
